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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )           8:01CR130
              Plaintiff,               )
                                       )
   vs.                                 )                 ORDER
                                       )
PATRICK WATSON,                        )
                                       )
              Defendant.               )


   The court has been presented a Financial Affidavit (CJA Form 23)
signed by the above-named defendant in support of a request for appointed
counsel.   After a review of the Financial Affidavit, I find that the
above-named defendant is eligible for appointment of counsel pursuant to
the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal
Justice Act Plan for the District of Nebraska.
   IT IS ORDERED:

   David M. O’Neill is appointed to represent the above named defendant
in this matter and shall forthwith file an appearance in this matter.

   IT IS FURTHER ORDERED that the Clerk shall provide a copy of this
order to the Federal Public Defender and David M. O’Neill.

   DATED this 29th day of December, 2009.
                                       BY THE COURT:


                                       s/ Thomas D. Thalken
                                       United States Magistrate Judge
